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 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 7
 8
     JEFFREY SMYTH AND BETTY
 9   SMYTH,
10
                           Plaintiffs,                       CASE NO. C05-838JLR
11
            v.                                               ORDER
12
     STATE FARM FIRE AND CASUALTY
13   COMPANY,
14
                           Defendant.
15
16
                                         I. INTRODUCTION
17
18          This matter comes before the court on a motion for summary judgment from

19   Defendant State Farm Fire & Casualty Co. (“State Farm”) (Dkt. # 8). Neither party has
20   requested oral argument, and the court finds this matter appropriate for disposition based
21   on the parties’ briefs and supporting materials. For the reasons stated below, the court
22
     GRANTS State Farm’s motion.
23
                                         II. BACKGROUND
24
            Plaintiffs Jeffrey and Betty Smyth own a home on Mercer Island, Washington. In
25
     2001, the Smyths discovered that their roof was leaking. Mr. Smyth contacted State
26
27   Farm, his homeowner’s insurance carrier, and made a claim. The parties continued to

28   negotiate the resolution of that claim for at least a year.

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 1          Although the timing is in some dispute, the Smyths discovered substantial
 2   additional water damage resulting from the leaking roof sometime in spring 2003. In
 3
     late May 2003, the Smyths hired a structural engineer who surveyed the extent of the
 4
     damage. The engineer found serious rotting in extensive sections of the home’s walls,
 5
     and estimated that it would cost more than $300,000 to repair it. In August 2003, the
 6
     Smyths contacted State Farm and brought an additional claim for this damage.
 7
 8          In September 2003, State Farm sent an engineer to assess the damage to the

 9   Smyth home. Based on his assessment, State Farm concluded that the Smyths’ policy
10   covered only a small portion of the damage. State Farm ultimately paid the Smyths just
11   under $40,000 on their claim.
12
            The Smyths contested State Farm’s assessment of their claim, and in February
13
     2004 filed suit in King County Superior Court. They did not, however, serve State Farm
14
     until much later.
15
            Shortly after filing suit, the Smyths entered a tolling agreement with State Farm.
16
17   The Smyths’ policy required them to commence suit against State Farm within one year:

18          6. Suit Against Us. No action shall be brought unless there has been
            compliance with the policy provisions. The action must be started within
19          one year after the date of loss or damage.
20   Carlson Decl., Ex. J at POL 000390 (emphasis in original).1 In a letter confirming their
21
     tolling agreement, State Farm quoted the above policy provision (the “Limitations
22
     Clause”) and immediately thereafter wrote that it was “extending the time by which a
23
     suit must be filed from within one year to within eighteen months, or one month from
24
25
26
27          1
              The court has quoted language from the Smyths’ 2002-2003 policy. The parties do not
28   dispute that every version of the policy contained the same one-year limitations period.


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 1   the date State Farm has made an offer to settle the above referenced claim, whichever is
 2   sooner.” Carlson Decl., Ex. G (March 2, 2004 letter).
 3
               The Smyths did not serve State Farm with the complaint in this action until April
 4
     18, 2005.2 Shortly thereafter, State Farm timely removed the action to this court. It now
 5
     seeks summary judgment on the Smyths’ claims because they did not timely file this
 6
     action.
 7
 8                                         III. ANALYSIS

 9             To resolve this motion for summary judgment, the court must draw all inferences
10   from the admissible evidence in the light most favorable to the non-moving party.
11   Addisu v. Fred Meyer, Inc., 198 F.3d 1130, 1134 (9th Cir. 2000). Summary judgment is
12
     proper where there is no genuine issue of material fact and the moving party is entitled
13
     to judgment as a matter of law. Fed. R. Civ. P. 56(c). The moving party bears the
14
     initial burden to demonstrate the absence of a genuine issue of material fact. Celotex
15
     Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the moving party has met its burden,
16
17   the opposing party must show that there is a genuine issue of fact. Matsushita Elect.

18   Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986). The opposing party
19   must present significant and probative evidence to support its claim or defense. Intel
20   Corp. v. Hartford Accident & Indem. Co., 952 F.2d 1551, 1558 (9th Cir. 1991). Where
21
     a question presented is purely legal, summary judgment is appropriate without deference
22
     to the non-moving party.
23
24
25             2
             As an Illinois corporation, State Farm operates as a foreign insurer in Washington.
26   Thus, the Washington Insurance Commissioner is its statutorily appointed agent for service of
     process under RCW § 48.05.200. When the Smyths served State Farm in April 2005, they did
27   so by serving the Insurance Commissioner. Carlson Decl., Ex. K. It is undisputed that the
28   Smyths did not serve State Farm by any other means.


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 1          The resolution of State Farm’s motion for summary judgment depends in part on
 2   the interpretation of the Limitations Clause. Under Washington law, interpretation of an
 3
     insurance policy is a question of law for the court. Overton v. Consolidated Ins. Co., 38
 4
     P.3d 322, 325 (Wash. 2002). The court should give the terms of the policy a “fair,
 5
     reasonable, and sensible construction as would be given to the contract by the average
 6
     person purchasing insurance.” Id. (internal quotation omitted). Terms defined within a
 7
 8   policy are to be construed as defined, while undefined terms are given their ordinary

 9   meaning. Boeing Co. v. Aetna Cas. & Sur. Co., 784 P.2d 507, 511 (Wash. 1990).
10          If the policy language on its face is fairly susceptible to two different, but
11   reasonable interpretations, ambiguity exists, and the court will apply the interpretation
12
     most favorable to the insured. Allstate Ins. Co. v. Peasley, 932 P.2d 1244, 1246 (Wash.
13
     1997) (cited in Petersen-Gonzales v. Garcia, 86 P.3d 210 (2004)); Allstate Ins. Co. v.
14
     Hammonds, 865 P.2d 560, 562 (Wash. Ct. App. 1994) (ambiguity exists “when, reading
15
     the contract as a whole, two reasonable and fair interpretations are possible.”). A court
16
17   must construe ambiguity against the insurer “even where the insurer may have intended

18   another meaning.” Allstate Ins. Co., 865 P.2d at 562. Because coverage exclusions “are
19   contrary to the fundamental protective purpose of insurance,” courts are to construe
20   them strictly against the insurer and are not to extend them “beyond their clear and
21
     unequivocal meaning.” Stuart v. Am. States Ins. Co., 953 P.2d 462, 464 (Wash. 1998).
22
     A.     The Smyths Did Not Timely Commence Their Claim for Breach of Their
23          Insurance Policy.
24          There is no genuine dispute between the parties over the interpretation of the
25
     Limitations Clause. Even if there were, Washington law dictates the court’s
26
     construction of the policy. The Limitations Clause requires that a suit against State
27
     Farm “must be started within one year after the date of loss or damage.” Under
28


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 1   Washington law, however, a lawsuit does not “start” unless the plaintiff files suit and
 2   serves the defendant within 90 days of filing:
 3
              For the purpose of tolling any statute of limitations an action shall be
 4            deemed commenced when the complaint is filed or summons is served
              whichever occurs first. . . . [T]he plaintiff shall cause one or more of the
 5            defendants to be served personally, or commence service by publication
              within ninety days from the date of filing the complaint. . . . If . . .
 6            following filing, service is not so made, the action shall be deemed to not
              have commenced for purposes of tolling the statute of limitations.
 7
 8   RCW § 4.16.170 (emphasis added). This statute applies to contractual limitations

 9   periods in insurance policies. Wothers v. Farmers Ins. Co., 5 P.3d 719, 721 (Wash. Ct.
10   App. 2000).
11            Wothers definitively establishes that a policyholder cannot toll a policy’s
12
     contractual limitations period unless it satisfies both the filing and service prongs of
13
     RCW § 4.16.170 In Wothers, as in this action, the plaintiffs filed suit against their
14
     insurance carrier, but did not serve the carrier with the complaint until more than 90
15
     days had passed. Id. The plaintiff’s policy required him to “bring suit” within one year.
16
17   Id. The court held that even though the plaintiff had filed suit within the one-year

18   limitations period, his failure to serve the complaint within 90 days meant that, under
19   RCW § 4.16.170, he “failed to bring suit within the one year period fixed by the policy.”
20   Id.3
21
22
23
               3
24            The Wothers court did not cite the text of the policy provision at issue. As noted
     above, the policy apparently required the insured to “bring suit” within one year. In this case,
25   the policy required the Smyths to “start” this action within one year. This difference in language
26   only strengthens State Farm’s position. Under RCW § 4.16.170, an action does not
     “commence” unless a plaintiff files a complaint and serves it within 90 days. The court is thus
27   compelled to hold that an action does not “start” unless a plaintiff files a complaint and serves it
28   within 90 days.


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 1           The parties’ tolling agreement extended the one-year limitations period in this
 2   action by a maximum of six months. The Smyths argue that the tolling agreement added
 3
     eighteen months to their one-year limitations period, a contention that finds no support
 4
     in the plain language of the tolling agreement or anywhere else in the record. The
 5
     tolling agreement “extend[ed] the time by which a suit must be filed from within one
 6
     year to within eighteen months, or one month from the date State Farm has made a
 7
 8   [settlement offer], whichever is sooner.” Carlson Decl., Ex. G. The language is

 9   unambiguous: at most, State Farm extended the one-year limitations period by six
10   months. In re Estates of Wahl, 664 P.2d 1250, 1252 (Wash. 1983) (“The interpretation
11   of an unambiguous contract is a question of law and may be resolved on summary
12
     judgment.”).
13
            The undisputed facts show that Smyths’ “date of loss or damage” was more than
14
     18 months before it served State Farm in this action. Their breach of policy claim is
15
     timely only if their “loss or damage” occurred less than 18 months before April 12,
16
17   2005, the date they served their complaint. Thus, their loss must have occurred no

18   earlier than October 12, 2003. The record before the court reveals that by the end of
19   May 2003, the Smyths’ structural engineer had informed them of the extensive damage
20   to their home, and had provided an estimate for the repair. It was this damage that led
21
     the Smyths to file the claim on which this action is based. The court need not determine
22
     exactly when the Smyths’ “loss or damage” accrued – it holds that the loss accrued no
23
     later than June 2003. This lawsuit commenced more than 18 months later, and is
24
25
     therefore untimely as to the breach of policy claim.4

26
27          4
             Even if the court were to hold that the Smyths’ loss did not accrue until they filed their
28   claim with State Farm in August 2003, this action would still be untimely.


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     B.     The Court Grants Summary Judgment Against the Smyths’ Remaining
 2          Claims as Well.
 3
            In addition to their breach of policy claim, the Smyths have theories of relief that
 4
     fall outside the scope of the Limitations Clause. They brought claims for bad faith
 5
     denial of insurance coverage, violations of the Washington Consumer Protection Act
 6
     (“CPA”), breach of fiduciary duty, and outrage. The court grants summary judgment on
 7
 8   these claims because the Smyths have insufficient evidence to support them.

 9          1.     The Smyths Have No Evidence Supporting Their Related Claims for
                   Bad Faith, CPA Violations, and Breach of Fiduciary Duty.
10
            The Smyths’ claims for bad faith, CPA violations, and breach of fiduciary duty
11
12   are closely related. A bad faith claim requires a showing that the insurer acted in a

13   manner that was “unreasonable, frivolous, or unfounded.” Dewitt Constr., Inc. v.
14   Charter Oak Fire Ins. Co., 307 F.3d 1127, 1138 (9th Cir. 2002) (citation omitted). Even
15   where an insurer incorrectly denies insurance coverage, it does not act in bad faith
16
     unless its interpretation of the policy was unreasonable. Wright v. Safeco Ins. Co. of
17
     Am., 109 P.3d 1, 9-10 (Wash. Ct. App. 2004). An insurer’s fiduciary duty is generally
18
     identical to its duty to act in good faith, and the Smyths do not identify any differences
19
     between the duties as they apply in this case. Van Noy v. State Farm Mut. Auto. Ins.
20
21   Co., 16 P.3d 574, 579 n.2 (Wash. 2001) (“We are doubtful that there is any real

22   difference between a ‘fiduciary’ duty and a duty of ‘good faith’ in the insurance
23   context.”). To prove a CPA violation, a Plaintiff must begin by showing an “unfair or
24   deceptive act or practice.” Indus. Indem. Co. of the Northwest, Inc. v. Kallevig, 792
25
     P.2d 520, 528 (Wash. 1990).
26
            Before examining the evidence supporting the Smyths’ related bad faith, CPA,
27
     and breach of fiduciary duty claims, the court notes that under any of these theories, the
28


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 1   Smyths must show that State Farm’s actions caused them harm. Griffin v. Allstate Ins.
 2   Co., 29 P.3d 777, 785 (Wash. Ct. App. 2001). Here, even if State Farm had improperly
 3
     denied coverage, the Smyths’ late service of the complaint would have prevented them
 4
     from recovering damages under their policy.5 Thus, unless State Farm’s alleged bad
 5
     faith or breach of duty caused the Smyths to bring this action too late, the Smyths have
 6
     no claim that would entitle them to coverage under their policy or damages equivalent to
 7
 8   coverage.

 9          The court finds no evidence that State Farm is responsible for the Smyths’ failure
10   to timely bring this action. The evidence permits only one conclusion: State Farm
11   extended the time period for bringing this action, and the Smyths nonetheless failed to
12
     timely bring it. There is no evidence that State Farm induced the Smyths’ untimely
13
     filing, much less that it did so in bad faith.
14
            Although the Smyths’ delay in bringing this action prevents them from
15
     recovering under their policy or recovering equivalent damages under a bad faith theory,
16
17   there is a narrow strand of their bad faith claim remaining. Washington law recognizes

18   that even where an insurer properly denies coverage, it can be liable for bad faith.
19   Coventry Assocs. v. Am. States Ins. Co., 961 P.2d 933, 937 (Wash. 1998). For a first-
20   party insured, however, bad faith will not create a “coverage by estoppel.” Id. at 939.
21
     Instead, the insured’s remedy is limited to damages that flow directly from the bad faith
22
     actions. Id. at 939-940.
23
24
25
            5
26          For this reason, the court declines to consider the Smyths’ argument that State Farm
     improperly denied coverage based on a policy amendment that it did not properly disclose to the
27   Smyths. The amendment, which altered coverage for structural collapse, did not alter the
28   Smyths’ obligation to bring suit within one year of loss.


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 1          The court finds no evidence supporting the narrow strand of the Smyths’ bad faith
 2   claim that survives their failure to timely bring this action. As noted above, the Smyths
 3
     bear the burden of showing that State Farm’s actions were not merely erroneous, but
 4
     were unreasonable, frivolous, or unfounded. State Farm offers strong evidence that it
 5
     handled the Smyths’ claim appropriately. Upon receiving notice of the claim, State
 6
     Farm sent an engineer to the Smyth home for an inspection. Based on the inspection
 7
 8   results, State Farm determined that only a portion of the damage to the home fell within

 9   the Smyths’ policy. This evidence is sufficient to force the Smyths to come forward
10   with evidence that State Farm either inappropriately investigated the damage or
11   otherwise acted unreasonably, and that they suffered damage as a result. The Smyths
12
     have not done so.
13
            The only evidence that the Smyths offer to support their bad faith claim is an
14
     expert report from Richard Kilpatrick (“Kilpatrick Report”), an attorney and former
15
     insurance claims adjuster. The court declines to accept Mr. Kilpatrick’s report as
16
17   evidence for several reasons. First, Mr. Kilpatrick is, by his own admission,

18   “[p]rimarily a plaintiff trial lawyer.” Kilpatrick Report appendix. On the record before
19   the court, Mr. Kilpatrick has no experience as an insurance claims adjuster since 1973.
20   Although Mr. Kilpatrick’s legal practice apparently involves “[m]atters of insurance
21
     problems [sic], including coverage and bad faith issues” (Kilpatrick Report appendix),
22
     his experience as a lawyer is, without more, insufficient to qualify him as an expert on
23
     the propriety of State Farm’s actions.
24
25
            Second, even if Mr. Kilpatrick were qualified to offer opinions in this case, his

26   opinions are fatally conclusory. Under Fed. R. Civ. P. 26(a)(2), an expert must submit a
27   report that “contain[s] a complete statement of all opinions to be expressed and the basis
28   and reasons therefor . . . .” Mr. Kilpatrick does not, for the most part, state any basis or

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 1   reasons for his opinions. For example, he opines that “[p]arts of the [Smyth] home
 2   needed further investigation through destructive opening to properly determine the
 3
     extent of the substantial of [sic] structural impairment in the home.” Kilpatrick Report
 4
     at 2. He does not explain why State Farm’s inspection was inadequate. He does not
 5
     explain what sources he relied on to determine what constitutes an adequate inspection.
 6
     He does not explain what a proper inspection would have revealed. As a second
 7
 8   example, he states that State Farm “must pay for reasonable inspections,” but does not

 9   explain what inspections it failed to pay for or how those inspections would have made a
10   difference in the resolution of this claim. Id. He alleges that “State Farm was not clear
11   with the insured,” but does not point to a single example of a statement State Farm made
12
     that was unclear. Ironically, he concludes (again without stating the basis of or reasons
13
     for his opinion) that “[n]o critical analysis and fair weighing of the evidence [by State
14
     Farm] is demonstrated in the materials I have seen so far.” Id. at 3. The court cannot
15
     accept Mr. Kilpatrick’s opinion, because it demonstrates no critical analysis or fair
16
17   weighing of the evidence. It thus falls short of the requirements of federal law. The

18   same is true of the remainder of the opinions in Mr. Kilpatrick’s report. The court
19   therefore declines to accept the report as evidence. Because the Smyths offer no other
20   evidence to support their bad faith, CPA, or breach of fiduciary duty claims, the court
21
     grants summary judgment against them.
22
            2.     The Smyths Have No Evidence that Demonstrates Arguably
23                 Outrageous Conduct.
24          Finally, the court grants summary judgment against the Smyths’ unsubstantiated
25
     outrage claim. An outrage plaintiff must prove that a defendant engaged in either
26
     intentional or reckless “extreme and outrageous conduct” and that the conduct caused
27
     plaintiff “severe emotional distress.” Dicomes v. State of Washington, 782 P.2d 1002,
28


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 1   1012 (Wash. 1989). “Extreme and outrageous” conduct is conduct that is “so
 2   outrageous in character, and so extreme in degree, as to go beyond all possible bounds
 3
     of decency, and to be regarded as atrocious, and utterly intolerable in a civilized
 4
     community.” Id. (citation omitted). Before allowing an outrage claim to proceed, the
 5
     court must decide whether reasonable minds could differ over whether the conduct was
 6
     extreme and outrageous. Id. at 1013. Here, the Smyths have provided no evidence of
 7
 8   extreme and outrageous conduct. The court finds that reasonable minds could not differ

 9   on this point, and thus grants summary judgment against the Smyths’ outrage claim.
10                                       IV. CONCLUSION
11              For the foregoing reasons, the court GRANTS State Farm’s motion for summary
12
     judgment (Dkt. # 8). The court directs the clerk to enter judgment for State Farm.6
13
            Dated this 17th day of October, 2005.



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16
                                                         JAMES L. ROBART
17                                                       United States District Judge
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25          6
              The Smyths ask the court to delay resolution of this motion pending consideration of
26   their cross-motion for summary judgment (Dkt. # 19), which is not yet ripe. The court has
     reviewed the cross-motion and finds that it raises no argument or evidence that would alter the
27   court’s analysis of this motion. The court therefore declines to delay its disposition of this
28   motion.


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